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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:09CR3090
                                         )
             v.                          )
                                         )
KEVIN JARZELL MOORE,                     )      MEMORANDUM AND ORDER
                                         )
                   Defendants.           )
                                         )

      The government has moved to extend the deadline for responding to the
defendant’s Motion to Dismiss or in the Alternative Motion to Transfer to the
Juvenile Jurisdiction of the District Court, (filing no. 16). Defendant Moore’s
counsel has verbally advised the court that he has no objection to the government’s
motion to continue. Accordingly,

      IT IS ORDERED that the government’s motion to continue, (filing no. 18), is
granted, and the government’s brief in opposition to the defendant’s Motion to
Dismiss or in the Alternative to Transfer to the Juvenile Jurisdiction of the District
Court, (filing no. 16), shall be filed on or before September 11, 2009.

      DATED this 1st day of September, 2009.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge
